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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       DEFENDANT’S “REPLY AND
          Plaintiff,                   DECLARATION TO THE
                                       UNITED STATES’ RESPONSE
         v.                            TO DEFENDANT’S MOTION
                                       FOR SUPPRESSION OF
                                       EVIDENCE (DOCKET #467)”;
   ANTHONY T. WILLIAMS,                DECLARATION OF COUNSEL;
                                       EXHIBIT “A;” CERTIFICATE
          Defendant.                   OF SERVICE


      “REPLY AND DECLARATION TO THE UNITED STATES’
    RESPONSE TO DEFENDANT’S MOTION FOR SUPPRESSION
               OF EVIDENCE (DOCKET #467)”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides Defendant’s “REPLY AND DECLARATION TO THE

   UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION
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   FOR     SUPPRESSION         OF    EVIDENCE        (DOCKET       #467)”;

   Declaration of Counsel; and Exhibit “A.”

      Dated: May 7, 2019

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
